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                                                                           FILED
                                                                      March 23, 2023
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